                     UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA


FEDERAL TRADE COMMISSION, STATE
OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,
                                                No. 1:22-cv-828-TDS-JEP
                   Plaintiffs,

         v.

SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,

                   Defendants.




IN RE CROP PROTECTION PRODUCTS
LOYALTY PROGRAM ANTITRUST                       No. 1:23-md-3062-TDS-JEP
LITIGATION



                      STIPULATED ORDER GOVERNING
                       THE TAKING OF DEPOSITIONS

      The Parties to FTC v. Syngenta Crop Protection AG, No. 1:22-cv-00828-TDS-JEP

(M.D.N.C.) (the “Government Action”), In re Crop Protection Prods. Loyalty Program

Antitrust Litig., No. 1:23-md-03062-TDS-JEP (M.D.N.C.) (the “MDL”), and Griffin v.




   Case 1:22-cv-00828-TDS-JEP      Document 316     Filed 03/13/25   Page 1 of 24
Syngenta Crop Protection AG, No. 4:22-cv-1287-BSM (the “Arkansas Action”), through

their respective counsel, stipulate and agree as follows:

              I.     SCOPE

        1.     This Stipulated Order Governing the Taking of Depositions (the

 “Deposition Protocol”) shall govern, upon entry by the Court, the taking of all fact

 Depositions (including Depositions of Fed. R. Civ. P. 30(b)(6) Witnesses) in the

 Actions as a supplement to the existing applicable Orders in the Actions, including

 but not limited to: Government Action Docs. 195 (Scheduling Order), 201

 (Stipulated ESI Order), 202 (Stipulated Protective Order), 222 (Coordination

 Order); MDL Docs. 129 (ESI Order), 133 (Scheduling Order), 136 (Coordination

 Order); Arkansas Docs. 80 (Final Scheduling Order), 85 (Stipulated ESI Order) and

 91 (Protective Order).

        2.     This Deposition Protocol does not modify the governing rules

 applicable to Depositions imposed by the aforementioned orders, the Federal Rules

 of Civil Procedure, the Local Rules of the United States District Court for the

 Middle District of North Carolina, the Local Rules of the United States District

 Court for the Eastern District of Arkansas, or the Federal Rules of Evidence except

 as expressly modified herein.

              II.    DEFINITIONS

        4.     “Actions” shall mean the Government Action, the MDL, and the

 Arkansas Action.

        5.     “Arkansas Action” shall mean State of Arkansas ex rel. Griffin v.


                                              2

   Case 1:22-cv-00828-TDS-JEP         Document 316          Filed 03/13/25   Page 2 of 24
Syngenta Crop Protection AG, et al., Civil Action No. 22-cv-1287-BSM (E.D. Ark.).

       6.     “Arkansas” shall mean the state of Arkansas acting by and through its

Attorney General.

       7.     “Attending Counsel” shall mean legal counsel for a Party or for the

Witness who is not Deposing Counsel or Defending Counsel, but who is attending a

Deposition.

       8.     “Defendant” shall mean Syngenta Crop Protection AG, Syngenta

Corporation, Syngenta Crop Protection, LLC (collectively, “Syngenta”) and Corteva,

Inc. (“Corteva”).

       9.     “Defending Counsel” shall mean any attorney defending the Witness at

the Deposition. In the event a Non-Party Witness does not have counsel, then

“Defending Counsel” shall mean the Witness himself or herself.

       10.    “Deposing Counsel” shall mean the legal counsel of a Party or Parties

noticing and taking a Deposition. For clarity, Deposing Counsel does not include any

legal counsel who does not notice or cross-notice a Deposition but is afforded

reasonable time to ask follow-up questions of the Witness.

       11.    “Deposition” shall mean any In-Person Deposition or Remote

Deposition by oral examination noticed in any of the Actions pursuant to Federal

Rule of Civil Procedure 27, 30, or 45.

       12.    “Government Action” shall mean Federal Trade Commission, et al. v.

Syngenta Crop Protection AG, et al., Civil Action No. 22-cv-828-TDS-JEP

(M.D.N.C.).


                                            3

  Case 1:22-cv-00828-TDS-JEP         Document 316       Filed 03/13/25    Page 3 of 24
       13.    “Government Plaintiffs” shall mean the Federal Trade Commission

and the states of California, Colorado, Illinois, Indiana, Iowa, Minnesota, Nebraska,

Oregon, Tennessee, Texas, Washington, and Wisconsin, acting by and through

their respective Attorneys General.

       14.    “In-Person Deposition” shall mean a deposition so noticed and

attended in person by at least one Deposing Counsel of a Noticing Party.

       15.    “MDL” shall mean In re Crop Protection Products Loyalty Program

Antitrust Litigation, Civil Action No. 23-md-3062-TDS-JEP (M.D.N.C.), including

all consolidated member cases (both current and any that may be transferred and

consolidated in the future).

       16.    “MDL Plaintiffs” shall mean the plaintiffs named in any consolidated

or member case in the MDL, including in any consolidated complaint that is or will

be filed in the MDL.

       17.     “Noticing Party” shall mean a Party noticing a Deposition.

       18.    “Non-Party Witness” shall mean a Witness other than a Party Witness

from whom a Party seeks testimony by Deposition.

       19.    “Party” or “Parties” shall refer to the Government Plaintiffs, MDL

Plaintiffs, Arkansas, and Defendants.

       20.    “Party Witness” shall mean a Witness employed or retained by a Party

or a Party’s counsel, or a former employee of a Party represented by such Party’s

counsel, from whom another Party seeks testimony by Deposition.

       21.    “Plaintiff” shall mean Arkansas, any Government Plaintiff, or any


                                           4

  Case 1:22-cv-00828-TDS-JEP          Document 316     Filed 03/13/25    Page 4 of 24
MDL Plaintiff.

       22.     “Platform” shall mean any computer program, application, or other

technology or combination of technologies that enables the Parties to conduct a

Remote Deposition in accord with this Deposition Protocol.

       23.     “Remote Deposition” shall mean a deposition so noticed and attended

remotely by the Deposing Counsel of a Noticing Party. Pursuant to Federal Rules

of Civil Procedure 29(a) and 30(b)(4), Remote Depositions shall be permitted in this

case and a Noticing Party may notice an In-Person Deposition or a Remote

Deposition.

       24.     “Witness” shall mean a person whose Deposition is noticed in an

Action or who is designated to appear to give testimony in an Action pursuant to

Federal Rule of Civil Procedure 30(b)(6).

              III.   DEPOSITION PROTOCOL

       25.    The Parties shall indicate in each notice or cross-notice of Deposition

whether they intend to take an In-Person Deposition or a Remote Deposition.

Noticing Parties shall provide that every Deposition, whether noticed as an In-

Person Deposition or Remote Deposition, will provide reasonable accommodations,

including providing use of a Platform, to enable the participation of any Attending

Counsel or Deposing Counsel who elect to participate remotely.

       26.    Each Party that intends to participate in a Deposition (that the Party is

eligible to attend), whether as Deposing Counsel or Attending Counsel, must

indicate how they plan to participate in the Deposition within ten (10) days of


                                              5

  Case 1:22-cv-00828-TDS-JEP          Document 316       Filed 03/13/25     Page 5 of 24
receiving the first notice for each Witness, either by specification in a timely cross-

notice of the Deposition, or by indicating in writing that they plan to attend and

whether such attendance will be remote or in-person. For the avoidance of doubt,

Attending Counsel who have not cross-noticed a Remote Deposition may only

attend in-person with the express permission of the Party or Third Party being

deposed.

       27.   The location of any In-Person Deposition will be determined by the

first Noticing Party to notice an In-Person Deposition of that Witness unless the

Witness reasonably requests a different location within seven (7) days of the notice.

Absent good cause, In-Person Depositions shall take place at a location convenient

for the Witness, such as the location where the Witness resides, is located at the

time of the deposition, is employed, or regularly transacts business in person. For

Party Witnesses, In-Person Depositions shall take place at the offices of counsel in

New York, NY, Washington, DC, Greensboro, North Carolina, or Charlotte, North

Carolina, or any alternate location agreed to by the Parties.

       28.   Any Deposing Counsel appearing at an In-Person Deposition remotely

will be limited to the questioning time provided for in the Coordination Order

entered in these Actions, regardless of any technical difficulties experienced during

time on the record, provided that the provisions under Paragraph 25, and the

provisions under Sections IV and V infra are fulfilled. If significant technical

difficulties arise, the Parties agree to go off the record and will follow the process

set forth in Paragraph 38.


                                             6

  Case 1:22-cv-00828-TDS-JEP          Document 316       Filed 03/13/25     Page 6 of 24
       29.   If a Party Deposition is noticed as a Remote Deposition and the

Witness intends for their attorney or any person other than the court reporter,

videographer, and/or audio recorder to be physically present in the room during

deposition testimony, that must be disclosed to Deposing Counsel at least ten (10)

calendar days prior to the deposition. Deposing Counsel then has the option of

attending the deposition in-person, provided that Deposing Counsel provides notice

to the Witness and all Attending Counsel within three (3) calendar days of the

Witness’s disclosure.

       30.   The Parties will endeavor to agree on one or more court reporter

services for all Depositions in the Actions. Counsel agree to discuss and coordinate

with respect to exhibit numbering, and will make best efforts to use the previously

marked exhibit number in subsequent depositions.

             IV.    REMOTE TECHNOLOGY PLATFORM

       31.   For any Deposition with attorneys participating remotely, the first

Noticing Party shall employ and make available a Platform that allows for the court

reporter to accurately record the Witness, Deposing Counsel, Defending Counsel,

Attending Counsel, and any exhibits that are introduced. The Platform shall also

enable all attorneys participating remotely to see any exhibits that are introduced,

and to hear and see the Witness, Deposing Counsel, and Defending Counsel.

       32.   Any selected Platform must (a) be web based and not require the

installation of any applications for use and (b) limit access to the Platform only to

those participants agreed upon by the Parties.


                                             7

  Case 1:22-cv-00828-TDS-JEP          Document 316      Filed 03/13/25     Page 7 of 24
       33.   The Platform shall be configured such that any private chat feature is

disabled. Breakout room features may be enabled only for breaks and recesses off

the record. Conversations in the breakout rooms shall not be recorded.

       34.   The first Noticing Party shall be responsible for arranging for the

Deposition with the Platform vendor and ensuring that email invitations to attend

the Deposition remotely are sent to any persons attending remotely (including, as

applicable, the Witness, Deposing Counsel, Defending Counsel, and Attending

Counsel). Deposing Counsel, Defending Counsel, and all Attending Counsel shall

provide their respective email addresses and all email addresses of attendees from

their Party, including the email address of the Witness or the Witness’s Counsel,

and all other appropriate persons intending to attend the Deposition remotely no

later than four (4) days before the Deposition.

       35.   Upon the request by any Party, Witness, or Defending Counsel, a

Noticing Party whose Platform is to be used to conduct the particular Deposition

shall arrange for the Witness and all participating attorneys to have the ability to

participate in a test run of the Platform.

       36.   At least two (2) business days prior to each Deposition with attorneys

participating remotely, the first Noticing Party shall provide, or shall cause the

Platform(s) to provide, to all persons attending remotely all details necessary to gain

access to each Deposition, including but not limited to any web addresses, login

credentials, and hardware and software requirements. In order to facilitate reliable

use of the Platforms, each participating Party, Witness, or counsel shall be


                                             8

  Case 1:22-cv-00828-TDS-JEP           Document 316      Filed 03/13/25    Page 8 of 24
responsible for acquiring, maintaining, and utilizing computer, audio, and video

equipment necessary to conduct the Deposition in accordance with the provisions of

this Stipulation. The Parties shall work collaboratively and in good faith with the

Platform(s) to assess each Witness’s technological capabilities and to troubleshoot

any issues in advance of the Deposition so any adjustments can be made, including

conducting training sessions separately for a participating Party, Witness, or

counsel.

       37.   While Deposing Counsel, the Witness, and Defending Counsel all must

be visible via video on the Platform while the Deposition is being conducted, any

video recording shall be conducted with the camera focused on the Witness, not

Deposing Counsel or Defending Counsel, or any of the other attendees.

       38.   The Parties agree to work collaboratively to address, troubleshoot, and

make such provisions as are reasonable under the circumstances to resolve any

technical issues that arise during the Deposition. Any Party may elect to have a

technical specialist attend a Deposition to ensure that technical issues are resolved

in a timely manner. If technical difficulties arise and persist during the taking of a

Deposition, counsel for the Parties must meet and confer immediately, by telephone

or other means, to determine whether the Deposition can proceed or should be

continued to a future date. If technical difficulties make the completion of a

Deposition impracticable, counsel for the Parties and the Witness shall resume the

Deposition at the earliest, mutually practicable opportunity. Any Party or a Non-

Party Witness may seek a protective order governing whether, or the terms under


                                             9

  Case 1:22-cv-00828-TDS-JEP          Document 316       Filed 03/13/25     Page 9 of 24
which, the Deposition may resume.

             V.     DEPOSITION EXHIBITS

       39.   For any Deposition with attorneys participating remotely, Deposing

Counsel shall be responsible for ensuring that any exhibits that they wish to mark

and use can be introduced and shown via the Platform to the Witness, Defending

Counsel, the court reporter, and all Attending Counsel in a manner that enables each

to review the exhibits in their entirety during the course of the Deposition, pursuant

to Federal Rule of Civil Procedure 30(f)(2). The Noticing Party responsible for

facilitating the Platform shall be responsible for ensuring that all exhibits or unused

documents are deleted and completely removed from the Platform at the conclusion

of the Deposition. If Deposing Counsel pre-loads exhibits to the Platform in

advance of questioning, the Witness and Defending Counsel may not review the

exhibits until the exhibits are introduced on the record.

       40.   Deposing Counsel shall be responsible for marking exhibits and

ensuring that such marks are communicated to the court reporter and all

participating attorneys on the record during the Remote Deposition.

             VI.    IN-PERSON DEPOSITION EXHIBITS

       41.   With respect to any hard-copy exhibit used in an In-Person Deposition,

unless otherwise agreed by the Parties planning to attend at the Deposition location,

the Party offering an exhibit during examination shall make reasonable efforts to

make available six (6) hard copies of each exhibit, unless a request is made for an

additional, reasonable number.


                                            10

 Case 1:22-cv-00828-TDS-JEP          Document 316       Filed 03/13/25    Page 10 of 24
       42.   To facilitate the provision of exhibits, each Party should notify the

Noticing Attorneys of the anticipated number of attendees, and also whether any

such attendee intends to appear remotely via Remote Platform technology at least

four (4) business days before the Deposition. When offering any Bates-numbered

exhibit, Deposing Counsel shall provide the Bates number of each exhibit to any

Attending Counsel remotely attending the In-Person Deposition.

       43.   After the Deposition is concluded, the Noticing Parties will ensure that

any remaining copies of hard copy exhibits are removed from the room and handled

consistent with the Protective Order.

             VII.   DEPOSITION EXPENSES

       44.   The Noticing Parties shall be responsible for retaining and bearing the

cost of court reporting and Platform vendors for a given Deposition.

       45.   Where the Noticing Parties for a Deposition include both Plaintiffs and

Defendants, the Party that Noticed the Deposition first shall arrange for the court

reporting service and Platform vendor (as necessary) for the deposition. Unless

otherwise agreed, Noticing Party Plaintiffs, collectively, shall bear fifty (50) percent

of the costs, and Noticing Party Defendants, collectively, shall bear (50) percent of

the costs, of the agreed vendors. Where there are multiple Noticing Party Plaintiffs,

each Plaintiff shall equally split Plaintiffs’ collective costs, unless agreed otherwise.

Where there are multiple Noticing Party Defendants, each Defendant shall equally

split Defendants’ collective costs, unless agreed otherwise.

       46.   The Deposition may be recorded by audiovisual means at the election


                                             11

 Case 1:22-cv-00828-TDS-JEP          Document 316        Filed 03/13/25     Page 11 of 24
of any Party, at such Party’s expense. Each Party shall bear its own costs for copies

of transcripts and copies of video recordings of any Deposition.

             VIII. COMPLIANCE WITH THE FEDERAL RULES

       47.   As used in Federal Rule of Civil Procedure 28(a)(1)(A), the “place of

examination” for a Remote Deposition shall be the location of the Witness.

       48.   A Remote Deposition shall be deemed to have been conducted “before

an officer” as required by Federal Rule of Civil Procedure 30(b)(5)(A) so long as

the court reporter attends the Deposition via the same Platform used to connect all

other remote participants, and so long as all participants (including the court

reporter) can clearly hear and be heard by all other participants.

       49.   Notwithstanding any other rule to the contrary, a Witness’s oath or

affirmation administered remotely by the court reporter shall be as effective as if

administered in person.

             IX.    MISCELLANEOUS PROVISIONS

       50.   At the beginning of any Deposition requiring a Platform, every person

logged onto the Platform and participating in the Deposition must be identified for

the record. Any person joining the Deposition after its beginning and participating

in the Deposition must be identified for the record at the next break.

       51.   All persons participating in a Remote Deposition, or participating

remotely in an In-Person Deposition, shall ensure that they are connected by audio

and video at all times. Participants shall mute audio connection when appropriate.

Unless otherwise agreed, Defending Counsel, the Witness, and any other persons


                                            12

 Case 1:22-cv-00828-TDS-JEP          Document 316       Filed 03/13/25    Page 12 of 24
    present in the same room as the Witness shall be and remain connected to the

    Platform with an active video connection, with the camera turned on, continuously,

    except during breaks. The Parties will use best efforts to ensure that Defending

    Counsel and the Witness each have their own standalone video connection, such as

    an individual laptop or camera 1 All other participants in a separate room from the

    Witness shall mute their connection and have their video camera off to reduce

    connectivity issues. Participants who have been muted shall retain the ability to

    unmute themselves during times when they desire to speak on the record.

           52.   If privileged information is disclosed inadvertently during a Deposition

    because of a technical disruption or other technical issue, such disclosure shall not

    be deemed a waiver of privilege.

           53.   During any Deposition requiring a Remote Technology Platform, the

    Witness may not communicate with any person, except through the Platform, by

    any means, including through gestures, handwritten communications, email, chat,

    instant messaging, or text messaging. As referenced in Paragraph 28, all private chat

    features provided in a Platform must be disabled. This restriction does not apply to

    conversations between the Witness and Defending Counsel during breaks or other

    recesses not on the record; such conversations can occur via breakout rooms

    provided by the Platform or via other means, provided that such breaks or recesses



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  Other than Defending Counsel and the Witness, participants subject to the requirements in this
Paragraph do not require a standalone connection to the Platform; rather, a video feed that
includes two or more participants may suffice.


                                                13

     Case 1:22-cv-00828-TDS-JEP          Document 316      Filed 03/13/25      Page 13 of 24
and any such conversations taking place during them comply with applicable federal

and local rules and procedures. Notwithstanding the requirements of this Paragraph,

a Witness may consult privately with Defending Counsel for the purpose of

determining whether a privilege should be asserted so long as the Witness or

Defending Counsel states on the record that such consultation is occurring. The

Parties shall not oppose reasonable accommodations to allow such conferences

during breaks, as well as communications among co-counsel during the Deposition.

For the avoidance of doubt, and in keeping with normal Deposition practice,

Deposing Counsel, Defending Counsel, and Attending Counsel may engage in

private communications or discussion amongst themselves during a Deposition,

using any appropriate means (such as email, texting, etc.).

       54.   The Witness may not review, read, have before them, or otherwise

access any document, including email, text, web pages, social media, video, audio,

or any other material, except documents presented to the Witness as exhibits during

a Deposition, without the express consent of counsel for all Parties. During the

Deposition, the Witness shall not consult any outside sources of information,

including but not limited to, cell phones, smart phones, computers, the Internet, text

or instant messaging services, emails, chats, blogs, or websites such as Twitter,

Facebook, or LinkedIn, to obtain information in connection with his or her

testimony.

       55.   Based on their experience under this Deposition Protocol and the needs

of an individual Witness, (a) the Parties, or the Parties and any Non-Party Witness,


                                           14

 Case 1:22-cv-00828-TDS-JEP         Document 316       Filed 03/13/25    Page 14 of 24
may stipulate to modifications of this Deposition Protocol applicable to an

individual Deposition; or (b) the Parties may stipulate and submit to the Court for its

approval modifications to this Deposition Protocol applicable to all Depositions.

       56.    Noticing Parties shall serve a copy of this Deposition Protocol with any

subpoena for a Deposition.

       57.    All typical rules of professionalism and etiquette shall apply to all

Depositions. All persons remotely attending Depositions who do not have an

immediate need to speak shall ensure that their telephone or video conference lines

are muted. In addition, all persons attending Depositions remotely shall ensure that

they can do so in a space that is free from distractions that would interfere with the

Deposition.

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                                             15

  Case 1:22-cv-00828-TDS-JEP          Document 316       Filed 03/13/25    Page 15 of 24
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                                             16

 Case 1:22-cv-00828-TDS-JEP            Document 316     Filed 03/13/25    Page 16 of 24
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                                            17

 Case 1:22-cv-00828-TDS-JEP         Document 316       Filed 03/13/25    Page 17 of 24
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                                    18

 Case 1:22-cv-00828-TDS-JEP    Document 316    Filed 03/13/25    Page 18 of 24
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                                          19

 Case 1:22-cv-00828-TDS-JEP         Document 316   Filed 03/13/25   Page 19 of 24
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                                      20

 Case 1:22-cv-00828-TDS-JEP     Document 316    Filed 03/13/25   Page 20 of 24
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                                    21

Case 1:22-cv-00828-TDS-JEP     Document 316   Filed 03/13/25   Page 21 of 24
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                                      22

Case 1:22-cv-00828-TDS-JEP    Document 316   Filed 03/13/25   Page 22 of 24
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                                            23

Case 1:22-cv-00828-TDS-JEP         Document 316   Filed 03/13/25   Page 23 of 24
IT IS SO ORDERED.

    This, the 13th day of March, 2025.




                                         24

 Case 1:22-cv-00828-TDS-JEP         Document 316   Filed 03/13/25   Page 24 of 24
